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                            UNITED STATES DISTRICT COURT

                            WESTERN DISTRICT OF LOUISIANA

GEORGE MCCARTY and                                      §
DEBRA MCCARTY                                           §
                                                        §   CIVIL ACTION NO:
               Plaintiffs                               §
v.                                                      §
                                                        §
JAYCO, INC., CAMPING WORLD RV                           §
SALES, LLC and LEXINGTON                                §
INSURANCE COMPANY                                       §
                                                        §
               Defendants                               §   JURY TRIAL REQUESTED
                                                        §


                                           COMPLAINT

                                             I.   Parties

       1.      Plaintiffs, George McCarty and Debra McCarty, husband and wife, now and have

been at all times material hereto married to each other, and are citizens and residents of the State of

Louisiana, domiciled at 689 Sandy Hill Road, West Monroe, Ouachita Parish, Louisiana 71292;

       2.      Defendant, Jayco, Inc. of Indiana, (hereinafter “Jayco”), is an Indiana corporation

domiciled at and whose principal business address is 903 South Main Street, Middlebury, Indiana

46540, authorized to do and doing business in the State of Louisiana, whose agent for service of

process is C T Corporation System, 3867 Plaza Tower Dr., Baton Rouge, LA 70816;

       3.      Defendant, Camping World RV Sales, LLC, (hereinafter “Camping World ”), is a

Louisiana limited liability company domiciled at 90 S. 7th Street, #5500, Minneapolis, MN 55402,

whose agent for service of process is CT Corporation System, 3867 Plaza Tower Dr, Baton Rouge,

LA 70816;


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       4.      Defendant, Lexington Insurance Company (hereinafter “Lexington”), is an

insurance company organized under the laws of the State of Delaware, domiciled at 2711

Centerville Road, Ste. 400, Wilmington, Delaware 19808, authorized to do business in the State of

Louisiana, whose agent for service of process is the Louisiana Secretary of State, 8585 Archives

Avenue, Baton Rouge, Louisiana 70809.

                                         II.   Jurisdiction

                                   A. Diversity of citizenship.

       5.      This Court has jurisdiction over this controversy or cause of action because the

plaintiffs are residing in the State of Louisiana; defendant, Jayco, Inc. of Indiana, (hereinafter

“Jayco”), is an Indiana corporation with its principal business address is 903 South Main Street,

Middlebury, Indiana 46540; defendant, Camping World RV Sales, LLC, is a limited liability

company organized under the laws of the State of Minnesota with its principal business office at 250

Parkway Drive, Suite 270, Lincolnshire, Illinois; its manager is listed as residing in Lincolnshire,

Illinois; internet research has shown that its owners are corporations organized and domiciled in

states of the United States other than Louisiana; defendant Lexington Insurance Company is an

insurance company organized under the laws of the State of Delaware, domiciled at 2711

Centerville Road, Ste. 400, Wilmington, Delaware 19808.

                               B. Magnuson-Moss Warranty Act

       6.      This Court has federal question jurisdiction over the lawsuit under the Magnuson-

Moss Warranty Act pursuant to 15 USC § 2310(d) because, pursuant to the Magnuson-Moss

Warranty Act, 15 U.S.C. § 2310(d)(2), and other causes of action set forth herein, defendants are

liable for a return of the purchase price, and expenses surrounding the sale, and defendants are also


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liable for attorney’s fees and damages, including general damages. Under the MMWA, plaintiffs

are entitled to recover a sum equal to the aggregate amount of costs and expenses, including

attorney’s fees, if Plaintiffs prevail; the purchase price, plus all other damages are as follows:

        1.      The sales price of the 2018 Jayco Eagle Fifth wheel was $53,356.00;

        2.      An additional expense surrounding the sale was sales tax of $5,863.82

        3.      An additional expense surrounding the sale was a charge for GAP insurance for
                $1,495.00.00;

        4.      Tire and wheel protection of $1095.00 was added to the sales price;

        5.      Paint Protection of $1995.00 was added to the sales price;

        6.      A document fee of $99.00 was added to the sales price;

        7.      The complainants have entered into a contingency fee contract of at least 30% with
                undersigned counsel, with expected attorney’s fees exceeding $25,000.00;

        8.      The complainants have chosen a return of their purchase price back under the
                Magnuson-Moss Warranty Act. Declaratory relief is available pursuant to 28 USC
                §§ 2201 and 2202.

                      C. Supplemental jurisdiction over State Law Claims

        7.      Although this complaint meets the requirements under 28 USC § 1331 for jurisdiction

in that this dispute involves predominant issues of federal law, declaratory relief is available pursuant

to 28 USC §§ 2201 and 2202, AND the court has supplemental jurisdiction under 28 USC § 1367

over Plaintiffs’ state law claims because said claims are so related to the claims within the Court’s

original jurisdiction that they form part of the same case or controversy under Article 3 of the United

States Constitution; those state law claims include redhibition, general damages, including damages

for mental anguish, humiliation, and inconvenience under Louisiana Civil Code Article 1998, and




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negligent repair which provide for damage categories that are in addition to Magnuson-Moss

Warranty Act damages.

                                               III. Venue

        8.      Venue is proper in this district under 28 U .S.C. §1391(a)(2) because a substantial

part of the events or omissions giving rise to the claim occurred, or a substantial part of property that

is the subject of the action is situated, in this district.

                                       IV. Conditions Precedent

        9.      All conditions precedents have been performed or have occurred.

                                                V.    Facts

                                          A. The Transaction

        10.      On Match 2, 2018, Plaintiffs purchased a new 2018 Eagle 336FBOK Fifth wheel

travel trailer, VIN 1UJCJ0BV6J1WL0166 (hereinafter "travel trailer") from defendant Camping

World RV Sales, LLC, in Bossier City, Louisiana. The travel trailer was purchased primarily for

Plaintiffs’ personal use. The sales contract was presented to Plaintiffs at the dealership (Camping

World) and was executed at the dealership (Camping World).

        11.       The sales price of the travel trailer was $53,356.00, excluding finance charges and

sales tax. Plaintiffs made a down payment in the amount of $6,100.00. The total cost of the travel

trailer to Plaintiffs over the life of the loan including finance charges will be $136,535.20.

                                          B.    Implied Warranties

        12.      As a result of the sale of the travel trailer by Defendant Camping World to Plaintiffs,

an implied warranty of merchantability and fitness for a particular purpose arose in the transaction

which included the guarantee from Jayco and Camping World that the travel trailer would pass


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without objection in the trade under the contract description; and that the travel trailer was fit for the

ordinary purpose for which such vehicles are purchased.

        13.     Subsequent to the sale, an implied warranty arose in connection with the repairs

performed by the Defendants. Specifically, Defendants Jayco and Camping World impliedly

warranted that the repair work had been performed in a good and workmanlike manner.

                                      C.    Express Warranties

        14.     In addition to the implied warranties that arose in the transaction, certain

representations and express warranties were made by Jayco and Camping World, including, that any

malfunction in the occurring during a specified warranty period resulting from defects in material

or workmanship would be repaired, and that repair work on the travel trailer had, in fact, repaired

the defects.

        15.     Plaintiffs’ purchase of the travel trailer was accompanied by express warranties

offered by Defendants Jayco and Camping World and extending to Plaintiffs. These warranties were

part of the basis of the bargain of Plaintiffs’ contract for purchase of the travel trailer.

        16.     The basic warranty covered any repairs or replacements needed during the warranty

period due to defects in factory materials or workmanship. Any required adjustments would also be

made during the basic coverage period. All warranty repairs and adjustments, including parts and

labor, were to be made at no charge. Additional warranties were set forth in the travel trailer’s

warranty booklet and owner’s manual.

                                      D.    Actionable Conduct

        17.     In fact, when delivered, the travel trailer          was defective in materials and

workmanship, with such defects being discovered within the warranty periods. Within the first few


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weeks after purchase, Plaintiffs began experiencing defective conditions with the travel trailer.

Many defective conditions have occurred since purchase and within the warranty period, and many

of them occurring within one year of the filing of this Complaint, including, but not limited to:

       a.      No trailer lights, because of short in plug when harness was plugged in.

       b.      Kitchen slideout not working right which required resetting the control board at least
               twice;

       c.      A screw sticking up at the top of the stairs, which had to be reinstalled;

       d.      One of the straps securing the dinette chair had to be repaired.

       e.      Rear leveling jack starts pushing out at an angel when used;

       f.      Slide hitch doesn’t slide right;

       g.      Closet door near bathroom has a gap;

       h.      Bedroom a/c not working correctly;

       i.      Slideout operation damaged the floor;

       j.      Gap in metal floor of wheel well caused by loose staples;

       k.      Stainless steel door filled with insulation preventing screws from securing the metal
               skin of the door;

       l.      Piece of foam slicking out of rear driver’s side slideout;

       m.      Front slideout extrusion requiring repair and replacement of decals;

       n.      Recall TSB #18-003 performed regarding furnace wires to be checked for melting or
               touching exhaust pipe, requiring sleeve be installed on exhaust;

       o.      Living room balance hanging down;

       p.      Kitchen slide again not going in and out properly; moving crooked, requiring control
               board be reset again;

       q.      Refrigerator not running off the inverter;


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        r.      Nothing in the refrigerator slide room works;

        s.      Refrigerator lock not working;

        t.      Inverter generally not working;

        u.      Bubble in exterior front requiring sealing as well as front seam, satellite, antenna,
                lady, plumbing vents, and other penetrations;

        v.      Water leaks;

        w.      Decals on slide out needing to be replaced;

        x.      Mismatched decals installed on travel trailer;

        y.      Excessive repair times, including cumulative repair times in excess of 7 months
                during plaintiffs’ period of ownership.

        18.     Since purchase, Plaintiffs have returned the travel trailer to Defendant Camping

World, Jayco’s authorized dealer and repair facility; on numerous occasions within the warranty

period and within one year of the date of the filing of this Complaint. Despite this prolonged period

during which Defendants Jayco and Camping World were given the opportunity to repair the travel

trailer, the more significant and dangerous conditions were not repaired. Defendants Jayco and

Camping World failed to repair the travel trailer so as to bring it into conformity with the warranties

set forth herein. From the date of its purchase, the travel trailer continues to this day to exhibit some

or all of the non-conformities described herein. As of the filing of this complaint, the trailer remains

at Camping World in Bossier City, Louisiana, for the last several months.

        19.     The defects experienced by Plaintiffs with the travel trailer substantially impaired its

use, value and safety.

        20.     Plaintiffs directly notified Jayco, Inc. and Camping World and each of them of the

defective conditions of the travel trailer on numerous occasions. Plaintiffs notified Defendants


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Jayco and Camping World that they wanted a rescission of the sale of the travel trailer but

Defendants Jayco and Camping World have failed and refused to buy back Plaintiffs’ defective travel

trailer.

                      Count 1: Violations of the Louisiana Redhibition Laws

           21.    Plaintiffs re-allege and incorporate\ by reference herein each and every allegation set

forth in the preceding paragraphs.

           22.    The travel trailer is a "thing" under La. Civil Code Articles 2520, et seq.

           23.    Jayco, Inc. is a "manufacturer" under La. Civil Code Articles 2520, et seq.

           24.    Camping World RV Sales, LLC is a "seller" under La. Civil Code Articles 2520, et

seq.

           25.    Plaintiffs are each a "buyer" under in La. Civil Code Articles 2520, et seq.

           26.    The defects described in the travel trailer meet the definition of a redhibitory defect

as defined in La. Civil Code Articles 2520, et seq.

           27.    Plaintiffs have provided the Defendants sufficient opportunity to repair their defective

travel trailer.

           28.    Plaintiffs have performed each and every duty required of them under Louisiana

Redhibition Laws, except as may have been excused or prevented by the conduct of the Defendants,

as herein alleged.

           29.    The hidden defects in the travel trailer existed at the time of sale, but were not

discovered until after delivery. The travel trailer is not usable or its use is so inconvenient that

neither Plaintiffs nor a reasonably prudent buyer would have purchased it had they known of the

defects prior to the sale.


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       30.     Furthermore, Defendants Jayco and Camping World failed to perform the repair work

in a good and workmanlike manner. This conduct by those Defendants constitutes a breach of the

implied warranties under Louisiana law, and entitles Plaintiffs to a rescission of the sale, return of

the purchase price, plus all collateral costs of the sale, finance charges, insurance premiums, and out

of pocket expenses.

       31.     Under Louisiana Redhibition laws, Plaintiffs are entitled to recover a sum equal to

the aggregate amount of the sale price, costs and expenses surrounding the sales, expenses for

preservation of the vehicle, including insurance costs, general damages, and attorney’s fees, if

Plaintiffs prevail. As a proximate result of Defendants’ misconduct as alleged herein, and in an

effort to protect their rights and to enforce the terms of the agreement as more particularly set forth

above, it has become necessary for Plaintiffs to employ the legal services of Fred A. Pharis.

Plaintiffs have incurred and continue to incur legal fees, costs and expenses in connection therewith.

       32.     At all times material hereto, Lexington Insurance Company had issued a policy of

liability insurance in favor of defendant, Jayco, Inc. of Indiana, which may cover part or all of the

claims of the Plaintiffs, and may compensate Plaintiffs for all or part of the damages sought from

defendant, Jayco, Inc. of Indiana, as set forth in their Complaint.

       33.     Lexington is liable unto Plaintiffs for any damages that may be awarded against

Defendants Jayco and Camping World, for part or all damages claimed therein, or to be awarded by

this Honorable Court, and Plaintiffs request that Lexington be cast in judgment, in solido, for the

same damages.




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                    Count 2: Violation of the Magnuson-Moss Warranty Act

         34.     Plaintiffs re-allege and incorporates by reference as though fully set forth herein each

 and every allegation contained in the preceding paragraphs.

         35.     Plaintiffs each are a "consumer" as defined in the Magnuson-Moss Warranty Act

 (hereinafter "Warranty Act"), 15 U.S.C. § 2301(3).

         36.     Defendants, Jayco and Camping World RV Sales, are "suppliers" and "warrantors"

 as defined in the Warranty Act, 15 U.S.C. § 2310(4) and (5).

         37.     The travel trailer is a "consumer product" as defined in the Warranty Act, 15 U.S.C.

 § 2301(l), because it is normally used for personal purposes and Plaintiffs in fact purchased it wholly

 or primarily for personal use.

         38.     The express warranties pertaining to the travel trailer are a "written warranty" as

 defined in the Warranty Act, 15 U.S.C. § 2301(6).

         39.     The actions of Defendants in failing to tender the travel trailer to Plaintiffs free of

 defects and refusing to repair or replace the defective constitutes a breach of the written and implied

 warranties and hence a violation of the Magnuson-Moss Warranty Act.

         40.     Plaintiffs have performed all things agreed to and required of them under the sales

 contract and warranty terms, except as may have been excused or prevented by the conduct of

 Defendants as herein alleged.

         41.     As a direct and proximate result of the acts and omissions of Defendants and each of

 them as set forth hereinabove, Plaintiffs have been damaged in an amount in excess of $50,000.00

 according to proof at trial.




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         42.      Pursuant to the Magnuson-Moss Warranty Act, 15 U.S.C. § 2310(d)(2), Plaintiffs are

 entitled to recover a sum equal to the aggregate amount of costs and expenses, including attorney’s

 fees, if Plaintiffs prevail. As a proximate result of Defendants’ misconduct as alleged herein, and

 in an effort to protect his rights and to enforce the terms of the agreement as more particularly set

 forth above, it has become necessary for Plaintiffs to employ the legal services of Fred A. Pharis.

 Plaintiffs have incurred and continue to incur legal fees, costs and expenses in connection therewith.

                                      Count 3: Negligent Repair

         43.      Plaintiffs re-allege and incorporate herein by reference each and every allegation set

 forth in the preceding paragraphs. For purposes of this cause of action, the word "Defendants"

 refers to Jayco and Camping World RV Sales.

         44.      On numerous occasions after the sale, Plaintiffs delivered the travel trailer to

 Defendants or other authorized repair facility for repairs of the defective conditions covered under

 the express and implied warranties set forth hereinabove.

         45.      On each such occasion, Plaintiffs are informed and believe, and thereupon allege,

 that Defendants attempted the repairs of the travel trailer pursuant to their obligations under the

 express and implied warranties. Defendants owed a duty of care to Plaintiffs to perform those

 repairs on the travel trailer in a good and workmanlike manner within a reasonable time. Further,

 Defendants have a "high duty" to detect and correct defects when consumers such as the Plaintiffs

 are subject to the warranty repair system initiated by Defendant. The Defendants breached this duty

 to Plaintiffs.

         46.      Defendants’ attempted repairs of Plaintiffs’ travel trailer were done so negligently,

 carelessly, and recklessly as to substantially impair the travel trailer’s use, value, and safety in its


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 operation and use. At no time did any repair attempt on Plaintiffs’ travel trailer fully and completely

 repair the travel trailer, nor were many of the defective conditions fixed or significantly improved

 by the Defendants’ repair attempts. Nonetheless, each time Plaintiffs picked up the travel trailer after

 the Defendants’ repair attempts, Defendants represented to Plaintiffs that the repairs were complete,

 and Plaintiffs relied upon these statements by the Defendants.

         47.     As a direct and proximate result of Defendant’s negligent failure to repair the travel

 trailer within a reasonable time or within a reasonable number of attempts, Plaintiffs have been

 unable to fully utilize the travel trailer for weeks at a time. As a further direct and proximate result

 of Defendants' failure to repair the travel trailer in a timely and workmanlike fashion, Plaintiffs were

 forced repeatedly to take the travel trailer in for further repair and also were required on one occasion

 to leave the travel trailer for long periods of time for repairs, at great inconvenience to Plaintiffs.

         48.     The damages Plaintiffs has suffered as a direct and proximate result of Defendants’

 negligence exceed $50,000.00.

         Count 4: Violations of the Louisiana Unfair Trade and Consumer Protection Law

         49.     Plaintiffs re-allege and incorporate by reference herein each and every allegation set

 forth in the preceding paragraphs.

         50.     Plaintiffs are each a “consumer” within the meaning of La RS 51:1402 (1);

         51.     The purchase of the travel trailer was a “consumer transaction” within the meaning

 of La RS 51:1402 (3);

         52.     The manufacture of the travel trailer and its wholesale sale to Camping World RV

 Sales was engaging in “trade” or “commerce” by the Defendant within the meaning of La RS

 51:1402 (10);


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         53.     The sale of the travel trailer by Defendant Jayco to its authorized dealer, knowing it

 would be sold to the ultimately consumers, in this case, the Plaintiffs, with Defendant Jayco being

 conclusively presumed to know of the defects under Louisiana law, was an unfair or deceptive act

 or practice in the conduct of trade or commerce and therefore unlawful, as set forth in La RS 51:1405

 (1);

         54.     As a result of the use of the unfair or deceptive acts or practices, the Plaintiffs have

 suffered ascertainable loss of money or moveable property, the purchase price of the travel trailer

 described herein, and have suffered actual damages including loss of the purchase price and all

 surrounding expenses of the sale, mental anguish, inconvenience, and humiliation, and upon award

 of those damages are entitled to an award of reasonable attorney fees and costs as described in La

 RS 51:1409 (A).

                                            VI.    Damages

         55.     The conduct described above has been and is producing and is the proximate cause

 of damages to Plaintiffs.

         56.     Plaintiffs’ damages include rescission of the sale and return of the purchase price,

 including all collateral costs at the time of the sale, any and all finance charges, insurance premiums,

 maintenance costs, repair costs, expenses for preservation of the vehicle, including insurance costs,

 damages, general damages as defined by Louisiana law, together with applicable penalties and

 attorney fees allowed by law, and with legal interest upon the entire sums awarded from the date of

 sale or judicial demand, whichever is applicable, until paid, and for all costs of these proceedings.

         57.     The damages Plaintiffs have suffered as a direct and proximate result of Defendants’

 actions exceed $50,000.00.


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                                    VII.    Request for Rescission

         58.     Plaintiffs seek the remedy of rescission of the sales contract.

         59.     Plaintiffs revoke their acceptance of the travel trailer for the reason that its defects

 substantially impair its use, value, and safety to Plaintiffs and the acceptance was based on Plaintiffs’

 reasonable reliance on the false representations and warranties of the Defendants that the defects in

 the travel trailer would not be substantial and would be repaired, and no reasonable prudent buyer

 would have purchased the travel trailer with knowledge of these defects prior to the sale.

 Accordingly, Plaintiffs seek a cancellation of the sales contract and the Retail Installment Contract

 and Security Agreement and an order of the court restoring to them the money obtained by

 Defendants, as a result of the false representations and breaches of express and implied warranties

 as set forth above. Plaintiffs also seek cancellation of the debt and offer to return the travel trailer

 to the Defendants.

                                  VIII.     Attorney Fees and Costs

         60.     Plaintiffs are entitled to recover a sum equal to the aggregate amount of costs and

 expenses, including attorney’s fees, if Plaintiffs prevail. As a proximate result of Defendants’

 misconduct as alleged herein, and in an effort to protect their rights and to enforce the terms of the

 agreement as more particularly set forth above, it has become necessary for Plaintiffs to employ the

 legal services of Fred A. Pharis. Plaintiffs have incurred and continue to incur legal fees, costs and

 expenses in connection therewith.

                                        IX.    Prayer for Relief

         61.     For these reasons, Plaintiffs pray for judgment against the Defendants for the

 following:


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             a.     For general, special and actual damages according to proof at trial;

             b      Rescinding the sale of the new 2018 Eagle 336FBOK Fifth wheel, VIN
                    1UJCJ0BV6J1WL0166, and returning to Plaintiffs the purchase price
                    including all collateral costs at the time of the sale, any and all finance
                    charges, insurance premiums, maintenance costs, repair costs, and damages;

             c.     For incidental and consequential damages according to proof at trial;

             d.     Out of pocket damages for expenditures related to any cost of repairs,
                    deductibles; and towing charges;

             e.     Any diminution in value of the attributable to the defects;

             f.     Past and future economic losses;

             g.     Prejudgment and post-judgment interest;

             h.     Attorney fees;

             I.     Costs of suit, expert fees and litigation expenses; and

             j.     All other relief this Honorable Court deems appropriate.

                                X.   Demand for Jury Trial

       62.   Plaintiffs hereby demand trial by jury to the extent authorized by law.




                                                    ___________________________________
                                                    FRED A. PHARIS
                                                    of PHARIS LAW OFFICES
                                                    831 DeSoto Street
                                                    Alexandria, LA 71301
                                                    Telephone: (318) 445-8266
                                                    Fax: (318) 445-5981
                                                    email: fpharis@pharislaw.com
                                                    LA Bar Roll No. 1536
                                                    ATTORNEY FOR GEORGE AND
                                                    DEBRA MCCARTY



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